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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

v. Case No: 6:16-mj-1243
GARY HIRST
AUSA: Andrew Searle
Defense Attorney: Angela Parrott, FPD
JUDGE: DAVID A. BAKER | DATE AND TIME: May 11, 2016
United States 2:30 P.M.-2:50 P.M.
Magistrate Judge TOTAL TIME: .
DEPUTY Helyn LaTorre RECORDING: Digital
CLERK:
INTERPRETER: | None PRETRIAL Brandon Ramirez

CLERK’S MINUTES
INITIAL APPEAEANCE ON RULE 5C
FROM SD/NY

DEFENDANT WAS ARRESTED TODAY

Defendant admits identity

Case called, appearances taken

Procedural setting by court

Court advises defendant of rights and charges

Defendant requested court appointed counsel for this district only

Government seeks conditions of release for defendant

Court allows defendant to proceed with representation of FPD today

Defense responds regarding release

Court inquires of government regarding conditions of release

Government responds

Court sets conditions of release:

Bond $1,000,000 co-signed by 3 co-signers ; previously posted cash in SD/NY to apply in this
case; 2 co-signers Tracey Hirst & Nancy Hirst by tomorrow at 4: third co-signer by Monday
5/16/16

-report to Pretrial

-trave] SD/ED of NY; state of Florida; District of Arizona;ND/GA; state of Tennessee

-no firearms, drugs, excessive alcohol

-obtain no new passport

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